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 4
     Attorney for Defendant
 5   ROBERT CARR
 6                                IN THE UNITED STATES DISTRICT COURT

 7                               FOR THE EASTERN DISTRICT OF CALIFORNIA

 8   UNITED STATES OF AMERICA,                       Case No.: CR.S-09-00170-GEB

 9                  Plaintiff,

10          vs.                                      STIPULATION AND ORDER

11   ROBERT CARR, et al.,
                                                    Date: April 2, 2010
12                  Defendants.                     Time: 9:00 a.m.
                                                    Judge: Hon. Garland E. Burrell
13                                        STIPULATION
14          IT IS HEREBY STIPULATED between the parties, Samuel Wong, Assistant United
15   States Attorney, for plaintiff United States of America, on the one hand, and Douglas Beevers,
16   Assistant Federal Defender, attorney for defendant Theresa Ann Carr, and C. Emmett Mahle,
17   attorney for defendant Robert Carr, on the other hand, that the status conference of February
18   19, 2010, at 9:00 a.m., be vacated, and the matter be set for status conference on April 2, 2010,
19   at 9:00 a.m.
20          The reason for the continuance is that the discovery includes many boxes of evidence,
21   and defense counsel requires time to review the evidence. Defense counsel has recently
22   received from Plumber’s Local Union 228 approximately twenty five additional boxes of
23   discovery evidence which defense counsel is in the process of reviewing. The parties agree a
24   continuance is necessary for these purposes, and agree to exclude time under the Speedy Trial
25   Act accordingly.
26          IT IS STIPULATED that the period from the date of the parties’ stipulation, February 17,
27   2010, and up to and including April 2, 2010, shall be excluded in computing the time within
28




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 1   which trial of this matter must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C
 2   §3161(h)(7)(A) and (B)(iv) and Local Code T4, for ongoing preparation of defense counsel.
 3   DATED:      2/17/10    _____                   /s/ C. Emmett Mahle
 4                                                 C. EMMETT MAHLE
                                                   Attorney for Defendant
 5                                                 ROBERT CARR
 6
     DATED:      2/17/10 _ _____                    /s/ Douglas Beevers
 7
                                                   DOUGLAS BEEVERS
 8                                                 Attorney for Defendant
                                                   THERESA ANN CARR
 9

10                                                 BENJAMIN WAGNER
                                                   United States Attorney
11
     DATED:      2/17/10 _ _____                    /s/ Samuel Wong
12
                                                   SAMUEL WONG
13                                                 Assistant U.S. Attorney
14

15                                                 ORDER
16                  UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that
17   the status conference presently set for February 19, 2010, be continued to April 2, 2010, at 9:00
18   a.m. Based on the representation of defense counsel and good cause appearing therefrom, the
19   Court hereby finds that the failure to grant a continuance in this case would deny defendants’
20   counsel reasonable time necessary for effective preparation, taking into account the exercise of
21   due diligence. The Court finds the ends of justice to be served by granting a continuance
22   outweigh the best interests of the public and the defendants in a speedy trial. It is ordered that
23   time from the date of the parties’ stipulation, February 17, 2010, up to and including, the April 2,
24   2010, status conference shall be excluded from computation of time within which the trial of this
25   matter must be commenced under the Speedy Trial Act pursuant to 18 U.S.C. §3161(h)(7)(A)
26   and (B)(iv) and Local Code T-4, to allow defense counsel reasonable time to prepare.
27

28   DATED: 2/22/10
                                                 GARLAND E. BURRELL, JR.
                                                 United States District Judge

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